Case 8:24-cv-00879-CEH-TPB-ALB Document 54-2 Filed 10/10/24 Page 1 of 4 PageID 581


    From:              David Chen
    To:                Michael Beato
    Subject:           Re: Hodges v. Passidomo: Meet and Confer
    Date:              Tuesday, October 8, 2024 12:12:07 PM
    Attachments:       image001.png
                       image002.png
                       image003.png
                       image004.png


    Thanks, Michael. We are at an impasse. Plaintiffs maintain that the ACLU of Florida's Tallahassee office
    is an appropriate location for the deposition.

    David

    On Tue, Oct 8, 2024 at 10:09 AM Michael Beato <mbeato@holtzmanvogel.com> wrote:

      Thanks again for the call, David.



      Again, to avert motion practice, I will compromise with a Zoom deposition.



      Let me know Plaintiffs’ position.




      Michael Beato
      Associate
      Holtzman Vogel
      Office: 850.270.5938
      Mobile: 561.724.3883
      mbeato@HoltzmanVogel.com // www.HoltzmanVogel.com


      From: David Chen <davidchen@nyu.edu>
      Sent: Tuesday, October 8, 2024 9:58 AM
      To: Michael Beato <mbeato@holtzmanvogel.com>
      Cc: Nicholas Warren <NWarren@aclufl.org>; Alyssa Cory <acory@shutts.com>; Shutts - KReardon
      <kreardon@shutts.com>; rpolston@shutts.com; Carlos Rey <Rey.Carlos@flsenate.gov>; Mohammad O. Jazil
      <mjazil@holtzmanvogel.com>; DOS - Ashley Davis <ashley.davis@dos.myflorida.com>;
      brad.mcvay@dos.myflorida.com; DOS - Joseph VandeBogart <joseph.vandebogart@dos.myflorida.com>; Zack
      Bennington <zbennington@holtzmanvogel.com>; Carrie McNamara <CMcNamara@aclufl.org>; James Shaw
      <jshaw@butler.legal>; DNordby@shutts.com
      Subject: Re: Hodges v. Passidomo: Meet and Confer



      Good morning Michael,

      Regarding the scheduling of the Secretary's 30(b)(6), we still maintain that the ACLU of Florida's
      Tallahassee office is an appropriate location.

      We do not read the law on 30(b)(6) to require depositions to be taken at the corporation’s specific
      office building. At most, it states that such depositions should ordinarily be taken in the same locality
      as the corporation, and as such, any office in the downtown Tallahassee area would suffice.
Case 8:24-cv-00879-CEH-TPB-ALB Document 54-2 Filed 10/10/24 Page 2 of 4 PageID 582
Case 8:24-cv-00879-CEH-TPB-ALB Document 54-2 Filed 10/10/24 Page 3 of 4 PageID 583
Case 8:24-cv-00879-CEH-TPB-ALB Document 54-2 Filed 10/10/24 Page 4 of 4 PageID 584
